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                                                                   USDC-SDNY
UNITED STATES DISTRICT COURT                                       DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                      ELECTRONICALLY FILED
                                                                   DOC#:
 MICHAEL ST. JOHN,                                                 DATE FILED: 1-11-21

                             Plaintiff,
                                                                     20-CV-2252 (RA)
                        v.
                                                                          ORDER
 RELIANCE COMMUNICATIONS, et al.,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

         On September 14, 2020, the Court referred this action to mediation. Dkt. 25. Since that

date, the Court has received no status update from the parties. No later than January 13, 2021, the

parties shall submit a joint status letter informing the Court whether mediation was successful,

unsuccessful, or remains ongoing.

SO ORDERED.

Dated:      January 11, 2021
            New York, New York

                                                  RONNIE ABRAMS
                                                  United States District Judge
